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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge William J. Martínez

  Civil Action No. 13-cv-2611-WJM

  LITTLE SISTERS OF THE POOR HOME FOR THE AGED, DENVER, COLORADO, a
  Colorado non-profit corporation,
  LITTLE SISTERS OF THE POOR, BALTIMORE, INC., a Maryland non-profit
  corporation, by themselves and on behalf of all others similarly situated, along with
  CHRISTIAN BROTHERS SERVICES, a New Mexico non-profit corporation, and
  CHRISTIAN BROTHERS EMPLOYEE BENEFIT TRUST,

        Plaintiffs,

  v.

  ALEX AZAR, Secretary of the United States Department of Health and Human
  Services,
  UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES,
  R. ALEXANDER ACOSTA, Secretary of the United States of Department of Labor,
  UNITED STATES DEPARTMENT OF LABOR,
  STEVEN MNUCHIN, Secretary of the United States Department of the Treasury, and
  UNITED STATES DEPARTMENT OF THE TREASURY,

        Defendants.


       ORDER REOPENING CASE AND GRANTING PERMANENT INJUNCTION


        Upon consideration of Plaintiffs’ Unopposed Motion to Reopen Proceedings and

  for Entry of Permanent Injunction and Declaration (ECF No. 80), Defendants’ response

  thereto (ECF No. 81), and the existing case record, the Court finds that reopening this

  case and granting a permanent injunction under Rule 65(d) and declaratory relief under

  28 U.S.C. § 2201 is warranted, and states the following findings and conclusions:

        A.      Plaintiffs have demonstrated, and Defendants concede, that the

  promulgation and enforcement of the mandate against Plaintiffs, either through the

  accommodation or other regulatory means that require Plaintiffs to facilitate the
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  provision of coverage for contraceptive and sterilization services and related education

  and counseling, to which they hold sincere religious objections, violated and would

  violate the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb.

         B.      Plaintiffs will suffer irreparable harm as a direct result of Defendants’

  conduct unless Defendants are enjoined from further interfering with Plaintiffs’ practice

  of their religious beliefs.

         C.      The threatened injury to Plaintiffs outweighs any injury to Defendants

  resulting from this injunction.

         D.      The public interest in the vindication of religious freedom favors the entry

  of an injunction.

         The Court therefore ORDERS as follows:

  1.     Plaintiffs’ Unopposed Motion to Reopen Proceedings and for Entry of Permanent

         Injunction and Declaration (ECF No. 80) is GRANTED.

  2.     This case is REOPENED pursuant to D.C.COLO.LCivR 41.2.

  3.     The Court issues the following PERMANENT INJUNCTION:

                 Defendants, their agents, officers, employees, and all
                 successors in office are enjoined and restrained from any
                 effort to apply or enforce the substantive requirements of 42
                 U.S.C. § 300gg-13(a)(4) and any implementing regulations
                 as those requirements relate to the provision of sterilization
                 or contraceptive drugs, devices, or procedures and related
                 education and counseling to which Plaintiffs have sincerely-
                 held religious objections, and are enjoined and restrained
                 from pursuing, charging, or assessing penalties, fines,
                 assessments, or other enforcement actions for
                 noncompliance related thereto, including those in 26 U.S.C.
                 §§ 4980D and 4980H, and 29 U.S.C. §§ 1132 and 1185d,
                 and including, but not limited to, penalties for failure to offer
                 or facilitate access to religiously-objectionable sterilization or
                 contraceptive drugs, devices, or procedures, and related
                 education and counseling, against Plaintiffs, all current and

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              future participating employers in the Christian Brothers
              Employee Benefit Trust Plan, and any-third party
              administrators acting on behalf of these entities with respect
              to the Christian Brothers Employee Benefit Trust Plan,
              including Christian Brothers Services. Defendants remain
              free to enforce 26 U.S.C. § 4980H for any purpose other
              than to require Plaintiffs, other employers participating in the
              Christian Brother Employee Benefit Trust Plan, and third-
              party administrators acting on their behalf, to provide or
              facilitate the provision of sterilization or contraceptive drugs,
              devices, or procedures, and related education and
              counseling, or to punish them for failing to do so.

  4.    The Clerk shall enter judgment in favor of Plaintiffs and against Defendants, and

        shall terminate this case. Plaintiffs shall have their costs upon compliance with

        D.C.COLO.LCivR 54.1.


        Dated this 29th day of May, 2018.

                                                  BY THE COURT:



                                                  ______________________
                                                  William J. Martinez
                                                  United States District Judge




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